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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                           CASE NO. 20-61249 -CIV-DIMITROULEAS

JHON SARMIENTO, Individually and
on behalf of all others similary situated,

          Plaintiff,
vs.

SCHEAR CONSTRUCTION, LLC, a
Florida Limited Liability Company,

          Defendant.
                                                  /

           CONSENT TO JOIN COLLECTIVE ACTION AND BE REPRESENTED
                         BY MORGAN & MORGAN, P.A.®

      ·   I, ERICK TORRES, consent to join the above-styled lawsuit seeking damages for
          unpaid wages under the FLSA;

·         I authorize the named Plaintiff to file and prosecute the above-referenced matter in my
          name, and on my behalf, and designate the named Plaintiff to make decisions on my
          behalf concerning the litigation, including negotiating a resolution of my claims;

·         I agree to be represented by Morgan & Morgan, P.A.®, counsel for the named Plaintiff;

·         In the event that this action gets conditionally certified and then decertified, or is not
          certified, I authorize Plaintiff’s counsel to reuse this Consent Form to re-file my claims in
          a separate or related action against Defendant(s).


Date:


Signature:
